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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE


 LORD ABBETT AFFILIATED FUND, INC.,                      C.A. No. 16-112-MN
 et al., Individually and on Behalf of All Others
 Similarly Situated,                                     Judge Maryellen Noreika

                               Plaintiffs,

         v.

 NAVIENT CORPORATION, et al.,
                     Defendants.



         PLAINTIFFS’ MOTION FOR LEAVE TO FILE A BRIEF IN RESPONSE
           TO DEFENDANTS’ SUR-REPLY AND IN FURTHER SUPPORT OF
          MOTION FOR CLASS CERTIFICATION, APPOINTMENT OF CLASS
           REPRESENTATIVES, AND APPOINTMENT OF CLASS COUNSEL

        Plaintiffs Lord Abbett Affiliated Fund, Inc., Lord Abbett Equity Trust – Lord Abbett

Calibrated Mid Cap Value Fund, Lord Abbett Bond-Debenture Fund, Inc., and Lord Abbett

Investment Trust – Lord Abbett High Yield Fund (collectively, the “Plaintiffs”) respectfully move

this Court for leave to file a short three (3) page brief responding to Defendants’ sur-reply (D.I.

157) in order to address new arguments and evidence submitted by Defendants in opposition to

Plaintiffs’ Motion for Class Certification, Appointment of Class Representatives and Appointment

of Counsel (the “Motion for Class Certification”). St. Clair Intellectual Prop. Consultants, Inc. v.

Samsung Elecs. Co., 291 F.R.D. 75, 80 (D. Del. 2013) (additional briefing appropriate “if it

responds to new evidence, facts, or arguments.”).

        On December 27, 2019, Defendants filed a request for oral argument stating that “[b]riefing

on [the Motion for Class Certification] is now complete.” D.I. 131. On July 23, 2020, the Court

ordered Defendants to file a sur-reply brief “responding to the arguments made by Plaintiffs in

their reply brief.” D.I. 156. In the sur-reply, Defendants submitted new evidence in the form of a
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declaration (see D.I. 158) and raised new points in support of their arguments that investors in the

Initial Navient Shares and the Navient Notes, respectively, should be excluded from the Class. 1

Defendants could have raised these matters in their opposition brief, but did not. Plaintiffs request

an opportunity to address these matters in a short three (3) page response to Defendants’ sur-reply,

which Plaintiffs respectfully submit will “allow the Court to more fully and fairly evaluate the

motion.” Samsung Elecs. Co., 291 F.R.D. at 80.

         Moreover, because the Motion for Class Certification is Plaintiffs’ motion, granting

Plaintiffs leave to file a brief responding to Defendants’ sur-reply will preserve the normal course

of briefing by allowing the movants (Plaintiffs) to file the final written submission on their motion.

         Accordingly, Plaintiffs respectfully request leave to file a short response, totaling no more

than three (3) pages, to Defendants’ sur-reply, which totals ten (10) pages. Plaintiffs’ proposed

response is attached to this motion as Exhibit A. In addition, Plaintiffs are prepared to address

Defendants’ arguments at oral argument.

         Plaintiffs have conferred with Defendants as to whether they would consent to the filing of

the requested brief. Defendants stated that they “do not consent” to Plaintiffs’ request.




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  Unless otherwise noted, all capitalized terms herein and in Exhibit A (Plaintiffs’ Response) are defined in the
Complaint (D.I. 59) or the Glossary in Plaintiffs’ Reply brief (D.I. 129 at iv-vi); all emphasis is added; internal citations
and punctuation are omitted; and citations to “Ex. _” refer to the consecutive exhibits to the Robinson Declaration
(D.I. 106) and the Robinson Reply Declaration (D.I. 130).
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Dated: August 7, 2020

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